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 1                                                                    Judge Robert J. Bryan
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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT TACOMA
 9
      UNITED STATES OF AMERICA,     )
10
                                    )                NO. CR08-5604RJB-001
                         Plaintiff, )
11
                                    )
                 v.                 )                ORDER TO SEAL
12
                                    )
      ANTHONY CHARLES BLEVELLS, )
13
                                    )
                        Defendant. )
14

15          Pursuant to CrR 32 (c)(1)(A), Local Rules W.D. Wash., the government's request

16   that the United States' Memorandum and all responses and replies in the above-captioned

17   matter be sealed, is hereby GRANTED.

18          DATED this 20th day of January, 2010.

19

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21

22
                                                A
                                                Robert J Bryan
                                                United States District Judge
23

24
     Presented by:
25
     s/Douglas J. Hill
26
     DOUGLAS J. HILL
27   Special Assistant United States Attorney
28


     ORDER TO SEAL                                                                UNITED STATES ATTORNEY
                                                                                  1201 PACIFIC AVENUE SUITE 700
     CR08-5604RJB-001-1                                                            TACOMA, WASHINGTON 98402
                                                                                         (253) 428-3800
